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                                       UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF NEW YORK

                                                       NOTICE
                                    1:21-CV-349 (GTS/DJS)
                  THE ATTACHED FILING ORDER IS A TIME SENSITIVE DOCUMENT

This filing order is to be served on all parties to the action along with the complaint or petition for removal
within sixty (60) days of filing this action.

The attached Civil Case Management Plan must be completed and filed with the clerk no later than seven (7)
days prior to the conference date referenced below.

CONFERENCE DATE/TIME: June 25, 2021, at 9:30 AM

CONFERENCE LOCATION: Albany, New York

BEFORE MAGISTRATE JUDGE: DANIEL J. STEWART

CONTENTS:

        -        General Order #25 (Filing Order)

        -        Case Management Plan

        -        Case Assignment and Filing Locations

        -        Consent Form to Proceed before U.S. Magistrate Judge

NOTE: ALL CIVIL ACTIONS SHALL BE REFERRED INTO THE NORTHERN DISTRICT'S PILOT
MANDATORY MEDIATION PROGRAM EXCEPT THOSE CASES THAT HAVE BEEN
DESIGNATED AS EXEMPT UNDER SECTION 2.1 (A) OF GENERAL ORDER #47. If the ADR track
below has been checked, this case will be referred into the Mandatory Mediation Program. Counsel are directed to review the Pilot
Mandatory Mediation Plan prior to the Rule 16 Conference. Please refer to General Order #47 - Pilot Mandatory Mediation Program
which is available on the Court's website at www.nynd.uscourts.gov.



                                                         X ADR Track
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                                        UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF NEW YORK

                                                  GENERAL ORDER #25

                      I. PURPOSE                                 completed after the time specified in Fed. R. Civ. P. 4, or
                                                                 any other Rule or Statute which may govern service of
It is the policy of this court to help litigants resolve their   process in a given action.
civil disputes in a just, timely and cost-effective manner.
To that end, this court has adopted an Expense and Delay         B. Filing Proof(s) of Service: Proof(s) of service of
Reduction Plan in accordance with the Civil Justice              process are to be filed with the clerk's office no later than
Reform Act of 1990. This will tailor the level of                five (5) days after service of the complaint or notice of
individualized case management needs to such criteria as         removal with a copy of this General Order.
case complexity, and the amount of time reasonably
needed to prepare the case for trial.                            C. Non Compliance with Sixty (60) Day Service
                                                                 Requirement: In the event that the filing party cannot
                        II. SCOPE                                comply with the Sixty (60) day service requirement, that
                                                                 party shall immediately notify the assigned Magistrate
This order applies to all civil cases filed in this court        Judge and request an adjournment of the initial Rule 16
except: multi-district litigation, case remanded from the        case management conference date contained in the
appellate court, reinstated and reopened cases, and cases        attached Civil Case Management Plan.
in the following Nature of Suit (NOS) categories
indicated on the JS44 Civil Cover Sheet: Prisoner                If an adjournment of the conference date is granted, it
Petitioners (463,510-560), Forfeiture/Penalty (625,690),         shall be the responsibility of the filing party to notify all
Bankruptcy Appeals (422,423), Social Security Appeals            parties to the action of the new date, time and location for
(861-865), Contracts (only NOS 150 and other contract            the case management conference. Proof of service of such
actions which involve the collection of debts owed to the        notice shall then be immediately filed with the clerk's
United States), and Real Property (only NOS 220), and            office.
Naturalization Application & other Immigration Actions
(NOS 462, 465), and Arbitration (NOS 896).                                    IV. ADDITIONAL PARTIES

*Note - When the Court deems it appropriate, Rule 16             Any party who, after the filing of the original complaint
Scheduling Conferences will be held in the above                 or notice of removal, causes a new party to be joined in
excepted actions.                                                the action shall promptly serve on that new party a copy
                                                                 of General Order 25 along with any additional Uniform
The Court has adopted the guidelines of civility as              Pretrial Scheduling Order that has been entered by the
outlined in the New York State Bar Association                   court.
Guidelines on Civility in Litigation, a copy of which is
available    on      the      courts      web-site    at                          V. REMOVED CASES
www.nynd.uscourts.gov.
                                                                 In cases removed to this court from a state court, the
                      III. SERVICE                               removing defendant(s) shall serve on the plaintiff(s) and
                                                                 all other parties, at the time of service of the notice of
A. Timing: When serving a Complaint or Notice of                 removal, a copy of this General Order with the attached
Removal, the filing party shall serve on all other parties a     materials. The filing of a motion for remand does not
copy of this General Order and the attached materials.           relieve the moving party of any obligation under this
Service of process should be completed within Sixty (60)         General Order unless the assigned judge or magistrate
days from the initial filing date. This expedited service is     judge specifically grants such relief.
necessary to fulfill the dictates of the Civil Justice Reform
Act Expense and Delay Reduction Plan of this court and                        VI. TRANSFERRED CASES
to ensure adequate time for pretrial discovery and motion
practice. However, in no event shall service of process be
                 Case 1:21-cv-00349-GTS-DJS Document 3 Filed 03/26/21 Page 3 of 14


The clerk shall serve a copy of this General Order on all
parties that have appeared in any action transferred to this       B) Consent to Jury or Court Trial Before A United
district. The clerk shall set a return date for the initial Rule   States Magistrate Judge:
16 case management conference on the form attached to              By written stipulation, the parties to any civil action may
the General Order. It shall be the obligation of the plaintiff     elect to have a magistrate judge (instead of the assigned
or plaintiff's counsel to arrange for completion of the            Article III judge) conduct all proceedings in any civil
attached Case Management Plan and to file the Plan with            case, including presiding over a jury or bench trial. A trial
the clerk and to serve this General Order upon any party           before a magistrate judge is governed by the same
who had not appeared in the action at the time of transfer.        procedural and evidentiary rules as trial before a district
                                                                   judge. The right to appeal is automatically preserved to
Attorneys appearing in transferred cases are reminded of           the United States Court of Appeals under the same
their obligation to be properly admitted to this district in       standards which govern appeals from an Article III judge.
accordance with Local Rule 83.1. Attorneys must also be            Parties often consent to resolution of their civil disputes
registered for electronic filing. Refer to Section XII of this     by magistrate judge bench or jury trial because magistrate
General Order.                                                     judges have less crowded calendars.

     VII. MATERIALS INCLUDED WITH THIS                                                 IX: DISCOVERY
           GENERAL ORDER PACKET
                                                                   A. Discovery Motions: Prior to bringing a discovery
A)       Notice of Initial Rule 16 Case Management                 dispute to a Magistrate Judge, the parties must confer in
         Conference                                                good faith in accordance with the provisions of Local
B)       Civil Case Management Plan                                Rule 37.1(d). In addition, no non-dispositive or discovery
C)       Case Assignment Form                                      motions should be presented to the Court unless
D)       Notice and Consent Form to Exercise of                    authorized by the Magistrate Judge after communication
         Jurisdiction by a United States Magistrate Judge          with the Magistrate Judges' chambers.

                 VIII. ADR PROGRAMS                                B. Filing Discovery: Parties are directed not to file
                                                                   discovery material unless it is being filed in accordance
It is the mission of this court to do everything it can to         with Local Rule 26.2.
help parties resolve their disputes as fairly, quickly, and
efficiently as possible. The Court has adopted a                   For additional information on local requirements related
Mandatory Mediation Program - see General Order #47                to depositions and discovery please refer to Section V. of
available on the Court's website. All civil cases that are         the Local Rules of this court.
not exempt under General Order #47 and are filed after
January 1, 2014, as well as all cases where a Rule 16                                    X. MOTIONS
Conference is scheduled after January 1, 2014, will be
placed into the Mandatory Mediation Program. The Court             A. Motions: Motions are decided without oral argument
may also refer other pending cases into the Mandatory              unless scheduled by the Court.
Mediation Program. The parties are directed to review the
Mandatory Mediation Plan requirements prior to the Rule            For additional information on local requirements related
16 Pretrial Conference. At the Rule 16 Pretrial                    to motion practice, please refer to Local Rule 7.1.
Conference, the assigned Magistrate Judge will set a
deadline for the completion of Mediation under General                 XI. CASE MANAGEMENT CONFERENCE
Order #47. The referral of a case to the Mandatory
Mediation Program does not delay or defer other dates              Except in actions exempted under Section II of this order,
established in the Scheduling Order and has no effect on           or when otherwise ordered by the court, the parties shall,
the scheduled progress of the case toward trial.                   as soon as practicable, but no later than twenty-one (21)
                                                                   days before the Rule 16 conference, confer to jointly
A) Settlement Conferences:                                         address each item contained in the attached Case
The parties are advised that the court will honor a request        Management Plan packet. The completed plan is to be
for a settlement conference at any stage of the proceeding.        filed with the clerk not later than seven (7) days prior to
A representative of the parties with the authority to bind         the conference date. The NOTICE setting the date, time,
the parties must be present with counsel or available by           and location for the initial Rule 16 conference with the
telephone at any settlement conference.                            court is included as part of this filing order. Mandatory
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disclosures under Fed. R. Civ. P. 26(a) shall be exchanged     CM/ECF registration, CM/ECF training dates, and
at least seven (7) days prior to the conference date, unless   General Order #22.
the parties have obtained prior approval from the assigned
Magistrate Judge to extend that deadline. The Civil                               REVISED GENERAL ORDER #25
Justice Reform Act Plan of this court requires the court to                          Dated: December 4, 2020
set ''''early, firm'''' trial dates, such that the trial is
scheduled to occur within eighteen (18) months after the                     s/
                                                                                         Hon. Glenn T Suddaby.
filing of the complaint, unless a judicial officer certifies
                                                                                         Chief U.S. District Judge
that (I) the demands of the case and its complexity make
such a trial date incompatible with serving the ends of        - The 1/3/2010 revision added Magistrate Judge Andrew T. Baxter.
                                                               - The 4/18/2011 revision added U.S. District Judge Mae A. D'Agostino and Magistrate
justice; or (II) that trial cannot reasonably be held within   Judge Victor E. Bianchini.
such time because of the complexity of the case or the         - The 12/16/2011 revision reflects Hon. Gary L. Sharpe as Chief Judge.
                                                               - The 2/12/2012 revision added Magistrate Judge Thérèse Wiley Dancks.
number or complexity of pending criminal cases.                - The 9/1/2012 revision added Magistrate Judge Christian F. Hummel.
                                                               - The 10/1/2012 revision reflects the retirement of Senior Judge Neal P. McCurn.
                                                               - The 10/25/2012 revision includes information on Mandatory Mediation - See Gen. Order
             XII. ELECTRONIC FILING                            #47.
                                                               - The 11/4/2013 revision includes changes to deadlines for mandatory disclosures under
                                                               Fed. Rule 26(a), and changes the date for the filing of the civil case management plan from
As of January 1, 2004, all documents submitted for filing      14 days prior to the conference to 7 days prior to the conference.
                                                               - The 12/29/2014 revision added U.S. District Judge Brenda K. Sannes.
by attorneys admitted to practice in the Northern District     - The 10/1/2015 revision reflects Hon. Glenn T. Suddaby as Chief Judge, added Magistrate
of New York shall be filed electronically using the            Judge Daniel J. Stewart, and reflects the retirement of Hon. Randolph F. Treece.
                                                               - The 1/1/2016 revision reflects Hon. Gary L. Sharpe taking senior status.
CM/ECF system. Refer to General Order #22 for                  - The 6/23/2016 revision relates to amended G.O. #47 Mandatory Mediation Program.
procedures for filing documents electronically. Attorneys      - The 7/23/2019 revision added Magistrate Judge Lovric and removed Magistrate Judge
                                                               Peebles.
must be registered for both PACER and CM/ECF.                  - The 12/4/2020 revision corrected Local Rules references in accordance with the changes
Consult the CM/ECF section of the courts web-site at           to the 2021 Local Rules, and removed all motion return dates and references to oral
                                                               arguments.
www.nynd.uscourts.gov for PACER registration,                  - The 12/8/2020 revision updated the teleconference info for Judge Lovric.
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                                CIVIL CASE MANAGEMENT PLAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

____________________________
 Cynthia "Cynthee" Defren

                                                                      No. 1:21-CV-349 (GTS/DJS)
   VS

The United Group of Companies, Inc.

____________________________

IT IS HEREBY ORDERED that, Pursuant to Rule16(b), Federal Rules of Civil Procedure, a status and
scheduling conference will be held in this case before the Honorable DANIEL J. STEWART, United
States Magistrate Judge on June 25, 2021, at 9:30 AM at the United States Courthouse, at Room Number
406, Albany, New York.

Counsel for all parties or individuals appearing pro se in the above-captioned action are directed to confer
in accordance with Fed. R. Civ. P. 26(f) with respect to all of the agenda items listed below, no later than
twenty-one (21) days before the scheduled Rule 16 Conference. Following that Rule 26(f) meeting, a
report of the results of the conference, in the format set forth below, must be filed with the clerk no later
than seven (7) days prior to the scheduled Rule 16 conference with the Court. Matters which the Court
will discuss at the status conference will include the following: (insert a separate subparagraph as
necessary if parties disagree):

1) JOINDER OF PARTIES: Any application to join any person as a party to this action shall be made
on or before _____________.

2) AMENDMENT OF PLEADINGS: Any application to amend the pleadings to this action shall be
made on or before _____________.

3) DISCOVERY: All discovery in this action shall be completed on or before _____________.
(Discovery time table is to be based on the complexity of the action)

4) MOTIONS: All motions, including discovery motions, shall be made on or before _____________.
(Non-Dispositive motions including discovery motions may only be brought after the parties have
complied with Section IX of General Order #25)
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5) EXPERT WITNESS DISCLOSURE: Plaintiff's Expert Witness disclosure shall be exchanged on or
before ____________________ (at least 90 days before the close of discovery). Defendant's Expert
Witness disclosure shall be exchanged on or before ____________ (at least 45 days before the close of
discovery). Rebuttal Expert Witness Disclosure shall be exchanged on or before ____________ (at least
30 days before the close of discovery).

6) MANDATORY MEDIATION: A stipulation selecting mediator must be filed on or before
____________. Mediation must be completed on or before ____________.

7) PROPOSED DATE FOR THE COMMENCEMENT OF TRIAL: The action will be ready to
proceed to trial on or before _____________. It is anticipated that the trial will take approximately
_______ days to complete. The parties request that the trial be held in _______________, N.Y. (The
proposed date for the commencement of trial must be within 18 months of the filing date).

8) HAVE THE PARTIES FILED A JURY DEMAND: _____(YES) / _____(NO).

9) DOES THE COURT HAVE SUBJECT MATTER JURISDICTION? ARE THE PARTIES
SUBJECT TO THE COURT'S JURISDICTION? HAVE ALL PARTIES BEEN SERVED?




10) WHAT ARE THE FACTUAL AND LEGAL BASES FOR PLAINTIFF'S CLAIMS AND
DEFENDANT'S DEFENSES (INCLUDE COUNTERCLAIMS & CROSSCLAIMS, IF
APPLICABLE)?




11) WHAT FACTUAL AND LEGAL ISSUES ARE GENUINELY IN DISPUTE?




12) CAN THE ISSUES IN LITIGATION BE NARROWED BY AGREEMENT OR BY
MOTIONS? ARE THERE DISPOSITIVE OR PARTIALLY DISPOSITIVE ISSUES
APPROPRIATE FOR DECISION ON MOTION?




13) WHAT SPECIFIC RELIEF DO THE PARTIES SEEK? WHAT ARE THE DAMAGES
SOUGHT?
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14) DISCOVERY PLAN:

     A.      Mandatory Disclosures

     The parties will exchange the mandatory disclosures required under Rule 26(a)(1) at least
     seven (7) days prior to the date of the Rule 16 conference, unless they have obtained prior
     approval from the assigned Magistrate Judge to extend that deadline.


     B.      Subjects of Disclosure

     The parties jointly agree that discovery will be needed to address the following subjects:




     C.      Discovery Sequence

     Describe the parties' understanding regarding the timing of the discovery, and state whether
     it is anticipated that discovery will be phased to address different issues in stages.




     D.      Written Discovery

     Describe the written discovery demands which the parties contemplate serving under Rules
     33, 34 and 36, including when they will be promulgated, that areas to be covered, and
     whether there is any need for any party to exceed the number of interrogatories permitted
     under Rule 33.
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E.      Depositions

Set forth the parties' expectations regarding depositions, including the approximate number
to be taken, their location, a general description of the deponents, and an indication of
whether any non-party fact depositions are anticipated.




F.      Experts

Set forth the parties' expectations regarding the retention of experts, and identify any
particular issues to be addressed by the court concerning the retention and exchange of the
information regarding experts, including whether the parties seek a variance from the
expert disclosure requirements of the form uniform pretrial scheduling order typically
issued by the court (i.e., initial expert disclosure at least ninety days, responsive expert
disclosures at least forty-five days, and rebuttal reports due at least thirty days, before the
close of discovery).




G.      Electronic Discovery

Set forth the parties' understanding and expectations regarding discovery of electronically
stored information. This description should include any agreements reached with respect
to the retention of electronically stored information and the manner in which it will be
produced, if requested. The parties should also identify any agreements regarding the
manner in which electronically stored information subject to claims of privilege or work
product protection will be handled, and whether a court order will be requested, either on
stipulation or otherwise, to address this issue. If an agreement has been reached on the entry
of such an order, provide a brief description of the provisions which will be included in a
proposed order.
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       H.      Protective Orders

       If the parties anticipate requesting a protective order from the court pursuant to Rule 26(c),
       describe the basis for the request and nature of the proposed protective order.




       I.      Anticipated Issues Requiring Court Intervention

       Provide a brief description of any discovery related issues which, the parties reasonably
       anticipate, may require court intervention.




15) IS IT POSSIBLE TO REDUCE THE LENGTH OF TRIAL BY STIPULATIONS, USE OF
SUMMARIES OR STATEMENTS, OR OTHER EXPEDITED MEANS OF PRESENTING EVIDENCE?
IS IT FEASIBLE AND DESIRABLE TO BIFURCATE ISSUES FOR TRIAL?




16) ARE THERE RELATED CASES PENDING BEFORE THE JUDGES OF THIS COURT?




17) IN CLASS ACTIONS, WHEN AND HOW WILL THE CLASS BE CERTIFIED?




18) WHAT ARE THE PROSPECTS FOR SETTLEMENT? Please circle below the prospect for
settlement:

                         1-----2-----3-----4-----5-----6-----7-----8-----9-----10
                      (VERY UNLIKELY) →→→→→→→→→→(LIKELY)

     CANNOT BE EVALUATED PRIOR TO __________________________ (DATE)
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HOW CAN SETTLEMENT EFFORTS BE ASSISTED?


(Do not indicate any monetary amounts at this time, settlement will be explored by the Magistrate Judge at the
time of the initial status conference)

COMPLETE QUESTION 19 ONLY IF YOUR FILING ORDER COVER SHEET WAS CHECKED AS AN
ADR TRACK CASE - Subject to Mandatory Mediation under General Order #47.

19) IF YOUR CASE WAS SELECTED AS A QUALIFYING MANDATORY MEDIATION CASE,
CONFIRM THAT YOU HAVE:

       A.     Reviewed General Order #47?        YES / NO

       B.     Reviewed the List of Court Approved Mediators available on the NDNY website?               YES / NO

       C.     Prepared to discuss with the Court, at the conference, whether your case should be opted
              out of the program?        YES / NO

       D.     Discussed the time frame needed to complete Mandatory Mediation?       YES / NO

******************************************************************************************
Pursuant to Fed. R. Civ. P. 26(f) a meeting was held on __________ at ____________________ and was attended
by:                                                       (Date)             (Place)
____________________________ for plaintiffs(s)

____________________________ for defendant(s) _______________________________________________
                                                                                                  (party name)
____________________________ for defendant(s) _______________________________________________
                                                                                                  (party name)
At the Rule 16(b) conference, the Court will issue an order directing the future proceedings in this action. The
parties are advised that failure to comply with this order may result in the imposition of sanctions pursuant to
Federal Rules of Civil Procedure 16(f).

Please detach this case management plan form and file electronically with the clerk no later
than seven (7) days in advance of the conference date.
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                                CASE ASSIGNMENT FORM

                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK


CIVIL ACTION NUMBER ___1:21-CV-349, GTS/DJS___

ALL CORRESPONDENCE AND FILINGS SHOULD BEAR THE INITIALS OF THE ASSIGNED JUDGE
AND MAGISTRATE JUDGE IMMEDIATELY FOLLOWING THE CIVIL ACTION NUMBER.
(IE: CIVIL ACTION NO 5:11-CV-0123, NAM-DJS)

DOCUMENTS SHOULD BE FILED IN ACCORDANCE WITH GENERAL ORDER #22.

      ACTION ASSIGNED TO THE JUDGE AND MAGISTRATE JUDGE CHECKED BELOW:

                                                                        INITIALS
              X         CHIEF JUDGE GLENN T. SUDDABY                      (GTS)

              X         MAGISTRATE JUDGE DANIEL J. STEWART                (DJS)
__________________________________________________________________________________________

                              PRO SE LITIGANTS:
         SEND ALL ORIGINAL PAPERS TO THE CLERK'S OFFICE LISTED BELOW:

                              Clerk, U.S. District Court
                              Federal Building & Courthouse
                              P.O. Box 7367
                              Syracuse NY 13261-7367

                  All papers filed with the Court must conform to Local Rule 10.1
__________________________________________________________________________________________

                                      ~ COUNSEL ~

             ALL DOCUMENTS SHALL BE FILED ELECTRONICALLY
                     ON THE COURT'S CM/ECF SYSTEM

                PLEASE REFER TO GENERAL ORDER #22
       FOR PROCEDURES FOR FILING DOCUMENTS ELECTRONICALLY
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                                         CONSENT TO THE EXERCISE
                               OF CIVIL JURISDICTION BY A MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. Section 636(c), you are hereby notified that the United States Magistrate
Judges of this district court, in addition to their other duties, may, upon consent of all the parties in a civil case, conduct any
or all proceedings in the case, including a jury or non jury trial, and order the entry of a final judgment.

You should be aware that your decision to consent to the referral of your case to a United States Magistrate Judge for
disposition is entirely voluntary and should be indicated by counsel endorsing the attached consent form for the plaintiff(s)
and defendant(s). If the form is executed by all counsel for the parties (or by the parties if appearing pro se), it should be
communicated solely to the clerk of the district court. ONLY if all the parties to the case consent to the reference to a
magistrate judge will either the judge or magistrate judge to whom the case has been assigned be informed of your decision.

Your opportunity to have your case disposed of by a magistrate judge is subject to the calendar requirements of the court.
Accordingly, the district judge to whom your case is assigned must approve the reference of the case to a magistrate judge
for disposition.

In accordance with 28 U.S.C. Section 636(c) (3), an appeal from a judgment entered by a magistrate judge will be taken to
the United States Court of Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a
district court. See Also L.R. 72.2(b)(5).




        Copies of the consent form are available in any office of the clerk of the court and on the court webpage at
                                                 www.nynd.uscourts.gov




                **ATTACHED FOR YOUR CONSIDERATION IS A BLANK CONSENT FORM**
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                                             UNITED STATES DISTRICT COURT
                                                           for the
                                                Northern District of New York



Cynthia "Cynthee" Defren

                            v.                                                       Civil Action NO.: 1:21-CV-349 (GTS/DJS)

The United Group of Companies, Inc.


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

           Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all proceedings
in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed
directly to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise this authority only
if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved
with your case.

        Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate judge conduct all
proceedings in this case including the trial, the entry of a final judgment, and all post-trial proceedings.

         Parties' printed names                    Signatures of parties or attorneys                            Dates


__________________________________             __________________________________             __________________________________

__________________________________             __________________________________             __________________________________

__________________________________ __________________________________                         __________________________________

__________________________________             __________________________________             __________________________________


                                                         REFERENCE ORDER

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order the entry of a final
judgment in accordance with 28 U.S.C. §636(c) and Fed. R. Civ. P. 73.

Date: __________________                                                   __________________________________________________
                                                                                         District Judge's signature

                                                                           __________________________________________________
                                                                                         Printed name and title


NOTE: Return this form to the clerk of the court only if you are consent to the exercise of jurisdiction by a United States magistrate
      judge. Do not return this form to a judge.
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                       NOTICE TO PARTIES OF COURT-DIRECTED
                         MANDATORY MEDIATION PROGRAM


You are receiving this Notice because your case has been referred into the Court's Mandatory
Mediation Program.

Counsel are directed to carefully review the Mandatory Mediation Plan and the requirements
contained therein (General Order #47), prior to the Rule 16 conference.

All inquiries regarding the Pilot Mandatory Mediation Program should be directed to:

                                        Renata Hohl
                                ADR Program Administrator
                                     U.S. District Court
                             James M. Hanley Federal Building
                                       P.O. Box 7367
                                    100 S. Clinton Street
                                 Syracuse, New York 13261
                                  Telephone: 315-234-8593
                           email: Renata_Hohl@nynd.uscourts.gov
